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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )



DEFENDANT PAUL J. MANAFORT, JR.’S SECOND MOTION FOR AN EXTENSION
         OF TIME TO SUBMIT A JOINT PRETRIAL STATEMENT

       Paul J. Manafort, Jr., by and through counsel, hereby moves for an extension of time, from

August 20, 2018 to August 27, 2018, to submit a Joint Pretrial Statement. The reason for this

request is that Mr. Manafort’s trial before the Honorable T.S. Ellis, III in the matter of United

States v. Paul J. Manafort, Jr., Case No. 18-cr-0083 (TSE) (E.D.Va.), has continued through the

date of this motion and it is unknown when the jury will return a verdict. The trial before Judge

Ellis has not allowed defense counsel sufficient time to confer with the Special Counsel’s Office

regarding the Joint Pretrial Statement currently due to be filed by August 20, 2018.

       In addition to the delay caused by the length of the trial before Judge Ellis, the Court’s

Scheduling Order (Doc. 217) requires Mr. Manafort, among other things, to review the exhibits

that Special Counsel intends to offer during trial, identify objections to specific exhibits, and

submit argument as to the basis for each objection. To date, the Special Counsel has provided

counsel with well over 1000 proposed exhibits—most of which have not been a part of the trial
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before Judge Ellis—and review of these materials will be time-consuming. This task simply

cannot be accomplished while Mr. Manafort’s legal team is engaged in trial before Judge Ellis.1

        Counsel are mindful of the Court’s statements in its Minute Order of July 31, 2018,

granting Mr. Manafort’s initial request for an extension of time to submit the Joint Pretrial Order.

Counsel seek this additional extension to allow them to devote the appropriate amount of time and

attention to the Joint Pretrial Statement and to ensure that it complies with the Court requirements.

As noted above, without this additional time, counsel will be unable to do so.

        Defense counsel has conferred with the Special Counsel’s Office regarding this request for

adjournment. The Special Counsel opposes this request.

        WHEREFORE, Mr. Manafort respectfully moves the Court for an extension of time, from

August 20, 2018 to August 27, 2018, to submit a Joint Pretrial Statement.

Dated: August 16, 2018                                    Respectfully submitted,


                                                          __/s/____________________________
                                                          Kevin M. Downing
                                                          (D.C. Bar No. 1013984)
                                                          Law Office of Kevin M. Downing
                                                          601 New Jersey Avenue NW
                                                          Suite 620
                                                          Washington, DC 20001
                                                          (202) 754-1992
                                                          kevindowning@kdowninglaw.com




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  It is worth noting that during the ongoing trial before Judge Ellis, the Special Counsel’s Office amended
its exhibit list three times and approximately one-third of the exhibits that the government initially
included in its proposed exhibit list were not introduced. While trying to identify all exhibits in advance
is admittedly a difficult task, this history strongly suggests that defense counsel’s review of more than
one-thousand proposed exhibits for this case–many of which may be irrelevant for the trial set before this
Court—would take time away from necessary trial preparation.

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                                  __/s/____________________________
                                  Thomas E. Zehnle
                                  (D.C. Bar No. 415556)
                                  Law Office of Thomas E. Zehnle
                                  601 New Jersey Avenue NW
                                  Suite 620
                                  Washington, DC 20001
                                  (202) 368-4668
                                  tezehnle@gmail.com

                                    /s/                    _________
                                  Richard W. Westling
                                  (D.C. Bar No. 990496)
                                  Epstein Becker & Green, P.C.
                                  1227 25th Street, N.W.
                                  Washington, DC 20037
                                  Tel: 202-861-1868
                                  Fax: 202-296-2882
                                  Email: rwestling@ebglaw.com




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